Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 1 of 10 Page ID
                                #:111194


 1 THOMAS J. NOLAN (Bar No. 66992)
   (tnolan@skadden.com)
 2 JASON D. RUSSELL (Bar No. 169219)
   (jrussell@skadden.com)
 3 LAUREN E. AGUIAR (Admitted Pro Hac Vice)
   (laguiar@skadden.com)
 4 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
   300 South Grand Avenue
 5 Los Angeles, CA 90071-3144
   Tel.: (213) 687-5000 / Fax: (213) 687-5600
 6
   RAOUL D. KENNEDY (Bar No. 40892)
 7 (rkennedy@skadden.com)
   DAVID W. HANSEN (Bar No. 196958)
 8 (dhansen@skadden.com)
   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 9 4 Embarcadero Center, 38th Floor
   San Francisco, CA 94111-5974
10 Tel.: (415) 984-6400 / Fax: (415) 984-2698
11 Attorneys for MGA Parties
12
                        UNITED STATES DISTRICT COURT
13
                      CENTRAL DISTRICT OF CALIFORNIA
14
                                EASTERN DIVISION
15
     CARTER BRYANT, an individual,         )   CASE NO. CV 04-9049 SGL (RNBx)
16                                         )
                           Plaintiff,      )   Consolidated with Case No. 04-9059
17                                         )   and Case No. 05-2727
               v.                          )
18                                         )   MGA PARTIES' NOTICE OF
   MATTEL, INC., a Delaware                )   MOTION, MOTION TO STRIKE
19 corporation,                            )   AND OBJECTIONS TO EXHIBITS
                                           )   ATTACHED TO THE
20                         Defendant.      )   DECLARATION OF DIANE C.
                                           )   HUTNYAN IN SUPPORT OF
21                                         )   MATTEL, INC.’S MOTION FOR A
     AND CONSOLIDATED ACTIONS.             )   PERMANENT INJUNCTION;
22                                         )   AND
23                                             MEMORANDUM OF POINTS
                                               AND AUTHORITIES IN
24                                             SUPPORT THEREOF
25                                             Honorable Stephen G. Larson
26                                             Phase 1(c)
                                               Hearing Date:      Nov. 10, 2008
27                                             Time:              1:00 p.m.
28

                        MGA PARTIES' MOTION TO STRIKE EXHIBITS
                             Case No. CV 04-9049 SGL (RNBx)
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 2 of 10 Page ID
                                #:111195


 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2        PLEASE TAKE NOTICE that on November 10, 2008, at 1:00 p.m., or as soon
 3 as counsel may otherwise be heard, in the courtroom of the Honorable Stephen G.
 4 Larson, located at 3470 Twelfth Street, Riverside, California 92501, counter-
 5 defendants MGA Entertainment, Inc., Isaac Larian, and MGA Entertainment (HK)
 6 Limited (collectively, the “MGA Parties”) will and hereby do, move the Court to
 7 enter an order striking Paragraphs 161, 162, 163, 164 and 165, and Exhibits 62, 86,
 8 90, 92, 93, 94, and 128, from the Declaration of Diane C. Hutnyan In Support Of
 9 Mattel Inc.’s Motion For a Permanent Injunction, dated September 28, 2008. The
10 above-listed exhibits were not admitted into evidence at trial, and are inadmissible
11 under the Federal Rules of Evidence. The MGA Parties’ therefore further request
12 that the Court refrain from considering the portions of Mattel’s Motion For
13 Permanent Injunction that rely on the inadmissible exhibits.
14        This Motion is made pursuant to Federal Rule of Civil Procedure 9(f); Federal
15 Rules of Evidence 401, 402, 602, 801, 802, and 1101; and on the grounds that the
16 proffered exhibits are hearsay, irrelevant, and otherwise inadmissible.
17        This Motion is based on this Notice of Motion and Motion, the accompanying
18 Memorandum of Points and Authorities, the evidence admitted at trial, the pleadings
19 and papers on file with the Court, and all other matters of which the Court may take
20 judicial notice.
21
22
23
24
25
26
27
28
                            MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                  Case No. CV 04-9049 SGL (RNBx)
                                                -i-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 3 of 10 Page ID
                                #:111196


 1                            Statement of Rule 7-3 Compliance
 2       Counsel for the MGA Parties and Mattel met and conferred regarding the
 3 issues presented by this Motion on October 13, 2008.
 4 DATED: October 13, 2008
                                     SKADDEN, ARPS, SLATE, MEAGHER &
 5                                   FLOM LLP
 6
                                     By: /s/ Thomas J. Nolan
 7                                       Thomas J. Nolan
                                         Attorneys for MGA Parties
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                          MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                Case No. CV 04-9049 SGL (RNBx)
                                             -ii-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 4 of 10 Page ID
                                #:111197


 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         During a lengthy two-month trial, the parties elicited testimony from 50
 3 witnesses and introduced 1,468 trial exhibits, generating nearly 8,000 pages of trial
 4 transcripts. Nonetheless, in apparent recognition of the paucity of trial evidence
 5 supporting its Motion for Permanent Injunction, Mattel now seeks to introduce 3,000
 6 pages of new, mostly unadmitted exhibits. Not only do these new exhibits fail to
 7 establish Mattel’s claim, but many cannot meet basic standards of admissibility. As
 8 such, the Court should strike these exhibits, and refrain from considering the portions
 9 of Mattel’s brief that rely upon them.
10         A.     The Federal Rules Of Evidence Apply In Permanent Injunction
                  Proceedings
11
           In motions for permanent injunctions, as in trials, the Federal Rules of
12
     Evidence apply. Fed. R. Evid. 1101(b) (providing that Federal Rules “apply
13
     generally to civil actions and proceedings,” and providing no exception for
14
     permanent injunction hearings). That includes Rules prohibiting admission of
15
     hearsay (Fed. R. Evid. 802), requiring competent witnesses (Fed. R. Evid. 602), and
16
     excluding irrelevant evidence (Fed. R. Evid. 402). And unlike in the preliminary
17
     injunction context, where more relaxed evidentiary standards may govern, the timing
18
     of permanent injunction hearings do not make “it difficult to obtain affidavits from
19
     persons who would be competent to testify at trial.” Cf. Flynt Distrib. Co. v. Harvey,
20
     734 F.2d 1389, 1394 (9th Cir. 1984); Levi Strauss & Co. v. Sunrise Int’l Trading Inc.,
21
     51 F.3d 982, 985 (11th Cir. 1995) (“At the preliminary injunction stage, a district
22
     court may rely on affidavits and hearsay materials which would not be admissible
23
     evidence for a permanent injunction.”). Indeed, in this case, a full trial that included
24
     testimony from dozens of competent witnesses has already taken place. As such, no
25
     exception to the Federal Rules of Evidence should or does apply.
26
27
28
                             MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                   Case No. CV 04-9049 SGL (RNBx)
                                                -1-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 5 of 10 Page ID
                                #:111198


 1         B.     The Court Should Strike Inadmissible Exhibits Submitted
                  Concurrently With Mattel’s Motion For Permanent Injunction
 2
           In an effort to substantiate its claims of market-share loss, Mattel cites to a
 3
     handful of newspaper stories, television-show transcripts and other irrelevant hearsay
 4
     materials. Such “evidence” is inadmissible under the Federal Rules of Evidence and
 5
     should be stricken. Among other things, the Rules of Evidence prohibit admission of
 6
     out-of-court statements offered for the truth of the matter asserted. Fed. R. Evid. 801;
 7
     Fed. R. Evid. 802; see also Mahone v. Lehman, 347 F.3d 1170, 1173 (9th Cir. 2003)
 8
     (holding that an out-of-court statement is hearsay and inadmissible when the
 9
     inference the proponent wants the trier of fact to draw from the statement depends on
10
     its truth). Under limited circumstances, certain out-of-court statements may be
11
     admissible where, for example, they are made by a “party's agent or servant
12
     concerning a matter within the scope of the agency or employment, made during the
13
     existence of the relationship.” Fed. R. Evid. 801(d)(2)(D). But even under these
14
     circumstances, the content of the statement alone is insufficient to establish “the
15
     agency or employment relationship and scope thereof.” Fed R. Evid. 801(d)(2).
16
           Additionally, the Rules of Evidence prohibit lay witnesses from testifying
17
     about matters in which they have no personal knowledge. Fed. R. Evid. 602; see
18
     Carmen v. San Francisco Unified Sch. Dist., 237 F.3d 1026, 1028 (9th Cir. 2001) (“It
19
     is not enough for a witness to tell all she knows; she must know all she tells.”).
20
     Before a witness may be permitted to testify, the proffering party must first introduce
21
     evidence “sufficient to support a finding that the witness has personal knowledge of
22
     the matter.” Fed. R. Evid. 602. Finally, the Rules require evidence to be relevant to
23
     the issues before the Court. Fed. R. Evid. 402; United States v. W. R. Grace, 504
24
     F.3d 745, 761 (9th Cir. 2007) (upholding district court’s decision to exclude
25
     irrelevant documents under Fed. R. Evid. 402). To be relevant, the proffered
26
     evidence must have a “tendency to make the existence of any fact that is of
27
     consequence to the determination of the action more probable or less probable than it
28
                             MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                   Case No. CV 04-9049 SGL (RNBx)
                                                -2-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 6 of 10 Page ID
                                #:111199


 1 would be without the evidence.” Fed. R. Evid. 401. Any “[e]vidence which is not
 2 relevant is not admissible.” Fed. R. Evid. 402.
 3            Applying these Rules, the following exhibits submitted in support of Mattel’s
 4 motion should be stricken:
 5            Hutnyan Decl Ex. 62.1 This exhibit is a June 2003 e-mail chain involving
 6 Isaac Larian. The cited portion, as well as the entire document, is inadmissible. First,
 7 Mr. Larian is not competent to testify regarding Mattel’s market share; only Mattel
 8 and its executives have personal knowledge of Mattel’s market-share performance.
 9 See Fed. R. Evid. 602. Tellingly, Mattel has produced no competent witnesses (or
10 any other evidence) to testify regarding its purported market-share losses. And
11 certainly no evidence was introduced at trial that Mr. Larian had personal knowledge
12 of Mattel’s market share. The exhibit should therefore be stricken. See id. Second,
13 whether Mr. Larian believed, in 2003, that Bratz’ growth had come at the expense of
14 “other toy companies like Mattel,” does not bear upon whether Bratz had actually
15 taken Mattel’s market share, whether Bratz took Mattel’s market share in the five
16 years since, or whether Bratz will take any of Mattel’s market share going forward.
17 For this reason, the evidence is irrelevant to the issues before the Court. See Fed. R.
18 Evid. 402. Finally, the evidence does not support the proposition for which it is cited,
19 namely, that MGA somehow “targeted” Mattel’s market share. (Mot. at 23.) Rather,
20 the document represents Mr. Larian’s conjecture that Bratz’ growth “came at the
21 expense” of other toy companies.
22            Hutnyan Decl. Ex. 92.2 This exhibit is a 2002 newspaper article that purports
23 to quote an MGA public-relations director. The cited portion, as well as the article
24 itself, is hearsay within hearsay that is not subject to any hearsay exception. See Fed.
25 R. Evid. 805. The article’s author does not purport to have any personal knowledge
26
     1
         Mot. at 23, n.99.
27 2
         Mot. at 23, n.98.
28
                               MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                     Case No. CV 04-9049 SGL (RNBx)
                                                  -3-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 7 of 10 Page ID
                                #:111200


 1 of the pertinent facts. And the MGA employee purportedly quoted is not an “MGA
 2 executive,” as Mattel asserts, but a “public relations director.” (See Hutnyan Ex. 92
 3 at MGA 0142815.) Because the development of MGA’s business strategy is not
 4 within the scope of public relations, the purported comments do not constitute
 5 admissible non-hearsay. Fed. R. Evid. 801(d). Moreover, even if non-hearsay, the
 6 purported statements are irrelevant to the issues before the Court. Whether or not, in
 7 2002, MGA had intended to take market share from Barbie does not bear upon
 8 whether MGA (1) in fact did take market share from Barbie, or (2) will continue to
 9 do so into the future. The proffered evidence is therefore further inadmissible under
10 Fed. R. Evid. 402.
11            Hutnyan Exhibit 93.3 This exhibit is a Los Angeles Times article that purports
12 to quote Isaac Larian. But the cited portion, as well as the entire exhibit, is irrelevant
13 to the issues before this Court. Here again, whether or not Mr. Larian aspired to be
14 “No. 1” does not bear upon whether MGA (1) took market share away from Mattel,
15 or (2) will take market share away from Mattel in the future; it is therefore
16 inadmissible under Fed. R. Evid. 402. Moreover, the proffered exhibit fails to
17 support the proposition for which it is cited. Mattel claims that “MGA has asserted
18 that its business model is to target Mattel market share specifically.” (Mot. at 23.)
19 The exhibit says nothing about MGA’s purported intent to target Mattel’s market
20 share, or, for that matter, the market share of any other company.
21            Hutnyan Decl. Ex. 94.4 This exhibit is a March 21, 2002 e-mail string
22 involving Isaac Larian and others. It is irrelevant. Whether or not Larian aspired to
23 market share equal to half of Mattel’s share of the UK market does not bear upon
24 whether MGA at any time, in any market, actually took market share from Mattel; or
25 whether MGA will ever take market share from Mattel going forward. It therefore
26
     3
         Mot. at 23, n.98.
27 4
         Mot. at 23, n.99.
28
                               MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                     Case No. CV 04-9049 SGL (RNBx)
                                                  -4-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 8 of 10 Page ID
                                #:111201


 1 does not bear upon the issues before the Court, and is inadmissible. See Fed. R. Evid.
 2 402.
 3        Hutnyan Decl. Ex. 86.5 This exhibit is MGA’s Petition for Writ of Mandamus
 4 to the Ninth Circuit. The cited portion, as well as the entire document, is
 5 inadmissible. Like Mr. Larian, MGA’s appellate counsel is not competent to testify
 6 regarding Mattel’s market share; only Mattel and its executives have personal
 7 knowledge of the Company’s market-share performance. See Fed R. Evid. 602. As
 8 noted, however, Mattel has produced no competent witnesses to testify regarding its
 9 purported market-share losses. This evidence is therefore inadmissible. Id.
10 Additionally, the evidence is irrelevant to any issues before the Court. Whether, in
11 fact, Bratz “began eroding Mattel’s substantial market share in 2001” says nothing
12 about whether that erosion continued, or will continue going forward. Mattel here
13 seeks compensation for alleged prospective harm, not any alleged past damages.
14 Indeed, at trial, Mattel’s expert projected that Bratz sales would decline, thus making
15 it impossible for Bratz to take market share from any company, much less from
16 Mattel, the market’s dominant player.6
17        Hutnyan Decl. Ex. 128.7 This exhibit is a 2004 news article that purports to
18 quote Mr. Larian regarding Bratz’ market share vis-a-vis “our competitors.” But Mr.
19 Larian is not competent to testify regarding Mattel’s market share; accordingly, the
20 purported quotation says nothing about it. The cited portion of Exhibit 128 is
21 therefore inadmissible. See Fed. R. Evid. 602. Moreover, the exhibit fails to support
22 the proposition for which it is cited, namely, that “Bratz dolls successfully reduced
23 Mattel’s market share.” (Mot at 23.) Instead, the exhibit supports the notion that
24 storylines and content – rather than doll design – drive fashion-doll sales. For
25 5
     Mot. at 23, n.99.
     6
26 See Tr. 6395:22-6396:7 (predicting a 55% decline in 2008, and another 22%
   decline through mid-2009).
27 7
     Mot. at 23, n.99.
28
                            MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                  Case No. CV 04-9049 SGL (RNBx)
                                               -5-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 9 of 10 Page ID
                                #:111202


 1 example, it quotes Tim Kilpin, Mattel’s senior vice-president of marketing,
 2 discussing Mattel’s strategy to use “content and storytelling” to sell Barbie dolls.
 3 (Hutnyan Decl. Ex. 128 at M 0070239.) Further, the article states that, in contrast to
 4 Mattel’s assertions of declining market share, “Barbie still claims to be the number
 5 one girl brand in the world and the most popular fashion doll ever introduced.” (Id.;
 6 accord Id. Ex. 90 at M 0062150 (“Chuck Scothon (Senior Vice President Mattel -
 7 Girls Division): …[B]arbie has been and will remain the number one fashion doll in
 8 the industry.”).) Mr. Kilpin likewise explains: “I don’t believe that Bratz is anything
 9 close to equaling Barbie’s level of aspiration.” (Id. Ex. 128 at M 0070240.) This is
10 contrary to Mattel’s current contentions.
11          Hutnyan Decl. Ex. 90.8 This exhibit purports to be a transcript from a
12 December 23, 2006 television show. The cited quotation is hearsay within hearsay.
13 Further, it does not purport to be based on the news correspondent’s personal
14 knowledge. The exhibit is therefore inadmissible under Federal Rules of Evidence
15 602 and 801. Moreover, the correspondent’s out-of-court statement is irrelevant.
16 Whether or not Bratz has a 40% market share has no bearing on whether (1) that
17 market share came at Mattel’s expense; or (2) whether any future market share will
18 come at Mattel’s expense. See Fed. R. Evid. 402. Finally, the exhibit does nothing
19 to support the proposition for which it is cited, namely, that “Bratz dolls have
20 successfully reduced Mattel’s market share.” (Mot. at 23.) Again, Mattel has failed
21 to produce competent evidence on this subject.
22
23
24
25
26
27 8
       Cited at Mot. at 23, n.99.
28
                              MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                    Case No. CV 04-9049 SGL (RNBx)
                                                 -6-
Case 2:04-cv-09049-DOC-RNB Document 4351 Filed 10/13/08 Page 10 of 10 Page ID
                                #:111203


 1                                    CONCLUSION
 2        For the foregoing reasons, the MGA Parties request that the Court sustain the
 3 objections set forth above and strike the objectionable evidence.
 4
     DATED: October 13, 2008         Respectfully submitted,
 5
                                      SKADDEN, ARPS, SLATE, MEAGHER &
 6                                    FLOM LLP
 7
                                      By: /s/ Thomas J. Nolan
 8                                        Thomas J. Nolan
                                          Attorneys for MGA Parties
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                           MGA PARTIES' MOTION TO STRIKE EXHIBITS
                                 Case No. CV 04-9049 SGL (RNBx)
                                              -7-
